           Case 2:10-cr-00042-TLN Document 87 Filed 03/11/10 Page 1 of 2


1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    LINDA C. HARTER, CA Bar #179741
     Chief Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    KEIT TRAN
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       ) No. CR-S-10-00042-MCE
                                     )
12                  Plaintiff,       )
                                     ) DEFENDANT'S WAIVER OF APPEARANCE
13        v.                         )
                                     )
14   KEIT TRAN,                      )
                                     )
15                  Defendant.       ) Judge: Morrison C. England, Jr.
                                     )
16   _______________________________ )
17
18        Pursuant to Rule 43 of the Federal Rules of Criminal Procedure,
19   defendant, KEIT TRAN, hereby waives the right to be present in person
20   in open court upon the hearing of any motion or other proceeding in
21   this case, including, but not limited to, when the case is set for
22   trial, when a continuance is ordered, and when any other action is
23   taken by the court before or after trial, except upon arraignment,
24   plea, impanelment of jury and imposition of sentence.
25        Defendant hereby requests the Court to proceed during every
26   absence of his which the Court may permit pursuant to this waiver;
27   agrees that his interests will be deemed represented at all times by
28   the presence of his attorney, the same as if the defendant were
           Case 2:10-cr-00042-TLN Document 87 Filed 03/11/10 Page 2 of 2


1    personally present; and further agrees to be present in court ready for
2    trial any day and hour the Court may fix in his absence.
3         The defendant further acknowledges that he has been informed of
4    his rights under Title 18 U.S.C. §§ 3161-3174 (The Speedy Trial Act)
5    and authorizes his attorney to set times and dates under that Act
6    without his personal presence.
7         The original signed copy of this waiver is being preserved by the
8    attorney undersigned.
9    Dated: February 23, 2010
10                                          /s/ Keit Tran
11                                          KEIT TRAN
                                            (Original retained by attorney)
12
13        I agree and consent to my client’s waiver of appearance.
14   Dated: February 23, 2010
                                            /s/ Linda C. Harter
15                                          ________________________________
                                            LINDA C. HARTER
16                                          Chief Assistant Federal Defender
                                            Attorney for Defendant
17                                          KEIT TRAN
18
19   IT IS SO ORDERED.
20
21   Dated: March 10, 2010

22
                                          _____________________________
23                                        MORRISON C. ENGLAND, JR.
24                                        UNITED STATES DISTRICT JUDGE

25
26
27
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